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The following constitutes the ruling of the court and has the force and effect therein described.




Signed October 7, 2021
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

      In re:                                                §
                                                            § Chapter 11
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                    §
                                                            § Case No. 19-34054-sgj11
                                    Reorganized Debtor.     §
                                                            §

       ORDER GRANTING UNOPPOSED MOTION TO CONTINUE THE HEARING ON
       HIGHLAND’S MOTION TO DISQUALIFY WICK PHILLIPS GOULD & MARTIN,
        LLP AS COUNSEL TO HCRE PARTNERS, LLC AND FOR RELATED RELIEF

               Having considered the Unopposed Motion to Continue the Hearing on Highland’s Motion

     to Disqualify Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC and for

     Related Relief (the “Motion”) filed by Highland Capital Management, L.P., the reorganized debtor

     (“Highland”) in the above-captioned chapter 11 case (the “Bankruptcy Case”), the Court finds that

     good cause exists to grant the Motion as set forth herein. Accordingly, it is HEREBY ORDERED

     THAT:

               1.    The Motion is GRANTED as set forth herein.
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       2.      The hearing (the “Hearing”) on Highland’s Supplemental Motion to Disqualify

Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief

[Docket No. 2893] (the “Supplemental Motion”) originally scheduled to take place on November

15, 2021 at 9:30 a.m. (Central Time) will now take place on Tuesday, November 30, 2021 at 9:30

a.m. (Central Time).

       3.      The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.

                                       ###End of Order###




                                                 2
